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UNITED STATES DISTRICT COURT

DISTRICT OF UTAH, CENTRAL DIVISION

 

UNITED STATES OF AMERICA, }
POSITION OF DEFENDANT WTH
Plaintiff, } RESPECT TO SENTENCING FACTORS
VS.
)
MICHAEL CHASE MONTGOMERY, Case No. 2:15-CR-00076-TS
)
Defendant.

 

COMES NOW the Defendant, by and through his attorney, Ryan D. Stout, pursuant
to the District of Utah Criminal Rule 32-1(b), declares that he has no objection to the calculation of
the advisory guideline range as spelled out in the Presentence Report. However, Defendant does
object to paragraphs 9 and 10 under the “Offense Conduct.” Specifically, Defendant objects to the
language “During the foot pursuit” at the beginning of paragraph 9 and requests that the paragraph
should instead begn “As part of the investigation, an officer walked down a dak alley....”

Additionally, Defendant objects to any references to the Defendant having pointed a firearm
at any officer. Defendant has accepted full responsibility for being in possession of a firearm,

however, Defendant is adamant that he never pointed a firearm at any police officer. Defendant
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respectfully requests that such langiage be stricken from the PSR.
Defendant does not object to the calculation as determined in the PSR, including the victim
related adjustment found in paragraph 20, but does respectfully request that any references to him

pointing a firearm at an officer be removed from the PSR.

DATED this_ 31st dayof December, 2015.

/s/Rvan D. Stout
Ryan D. Stout
Attomey for Defendant
